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       In the United States Court of Federal Claims
                                   No. 15-319 T

                          (E-Filed: September 15, 2020)

                                         )
 KARL STOMBERG,                          )
                                         )
                      Plaintiff,         )
                                         )
 v.                                      )
                                         )
 THE UNITED STATES,                      )
                                         )
                      Defendant.         )
                                         )

                                     ORDER

       On September 14, 2020, defendant filed the parties’ joint stipulation for
entry of judgment in this matter. See ECF 77. Defendant’s counsel digitally
signed the parties’ joint stipulation. Because the Rules of the United States Court
of Federal Claims (RCFC) do not provide for digital signatures, the court shall file
the parties’ joint stipulation by leave of the court. See RCFC 11; RCFC App’x E,
§ VI, 19(a)-(c).

       Accordingly, the clerk’s office is directed to FILE the parties’ joint
stipulation for entry of judgment, ECF No. 77, by leave of the court as of the date
it was submitted, September 14, 2020; and directed to ENTER judgment in this
case pursuant to RCFC 58, as set forth in the parties’ stipulation, see id.

       IT IS SO ORDERED.


                                             s/Patricia E. Campbell-Smith
                                             PATRICIA E. CAMPBELL-SMITH
                                             Judge
